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                     NON-PUBLIC INFORMATION


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United States Attorney                                        FILED IN THE
District of Hawaii                                     UNITED STATES DISTRICT COUffT
                                                            OISTRICTOFHAWAII
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                 IN THE UNITED STATES DISTRICT COURT


                         FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,                   MAG.NO. 18-1381 KIM


                     Plaintiff,             CRIMINAL COMPLAINT;
                                            AFFIDAVIT IN SUPPORT OF
               V.                           CRIMINAL COMPLAINT


ALEXANDER K. AKUNA,IR.,
and CLINT KANEKO,

                     Defendants.



                           CRIMINAL COMPLAINT


      I, the undersigned complainant, being duly swom, state the following is true

and correct to the best of my knowledge and belief.
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                                      COUNT 1


             Possession with Intent to Distribute Methamphetamine

      On or about December 18, 2018, within the District of Hawaii,

ALEXANDER K. AKUNA,JR., the defendant, did knowingly and intentionally

possess with intent to distribute 500 grams or more of a mixture and substance

containing a detectable amount of methamphetamine, its sales, isomers, and salts

of its isomers, a Schedule II controlled substance, all in violation of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(A).

                                      COUNT 2


          Possession of Firearms after Sustaining Felony Convictions

      On or about December 18,2018, within the District of Hawaii,

ALEXANDER K. AKUNA,JR., and CLINT KANEKO,the defendants, having

each been previously convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess in and affecting interstate commerce,

firearms, namely, a Smith and Wesson .40 caliber, semi-automatic pistol, model

SD40VE,a Colt SP-1 .223 caliber rifle, and a Mossberg 500 12-gauge shotgun,

said firearms having been previously shipped and transported in interstate

commerce, all in violation of Title 18, United States Code, Section 922(g)(1).

      I further state that I am a Task Force Officer with the Federal Bureau of

Investigation, and that this Complaint is based upon the facts set forth in the
                                           2
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attached "Affidavit in Support of Criminal Complaint", which is incorporated

herein by reference.

      DATED: December 19, 2018, Honolulu, Hawaii.




                                           XINT IGE
                                          Task Force Officer, FBI



Sworn to before me and
subscribed in my presence
this 19th day of December,
2018, at Honolulu, HawaiL




RICHARD L. PUGtlSI
United States Magistrate
District of Hawaii
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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


      CLINT IGE, after being duly sworn, deposes and states as follows:

      1.     I am a Detective with the Honolulu Police Department("HPD")and

have been since 1998. I am currently assigned as a Task Force Officer with the

Hawaii Violent Crimes Task Force, which is comprised of FBI Special Agents and

HPD personnel. Our principal responsibility is to investigate violent gang-related

activities, including but not limited to narcotics trafficking in Hawaii.

      2.     The information contained in this affidavit is based on my personal

knowledge and my training and experience, information obtained from other law

enforcement personnel, and witnesses. This affidavit is intended merely to show

that there is probable cause for the requested arrest warrant and does not set forth

all of my knowledge about this matter.

      3.     Based on the facts as set forth in this affidavit, and my training and

experience, there is probable cause to believe that ALEXANDER K. AKUNA,JR.,

the defendant, committed a violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(A)(possession of a controlled substance with

intent to distribute), and that AKUNA and CLINT KANEKO,the defendants,

committed a violation of Title 18, United States Code, Section 922(g)(1)(felon in

possession of firearms).
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                              PROBABLE CAUSE


      The State Search Warrant


      4.     On December 18,2018, officers from the HPD's Specialized Service

Division and the District-4 Crime Reduction Unit executed a State of Hawaii


search warrant that authorized the search of(a)the premises and curtilage of a

location on Hololio Street, Kaneohe, Hawaii, described as a single-story, single-

family dwelling (the "Premises");(b)the person of ALEXANDER K. AKUNA,

JR., the defendant, and the personal effects found on AKUNA at the time of the

execution ofthe search warrant, wherever he may be lawfully found;(c)a gray

Dodge Challenger, two-door sedan, bearing State of Hawaii license plates

"EF966"; and(d)any and all closed containers located in or on the Premises or on

AKUNA.


      5.    During the search pursuant to the above-described warrant,

ALEXANDER K. AKUNA,JR., the defendant, was found to be present in one of

the bedrooms ofthe Premises together with another individual ("Individual-1"),

and CLINT KANEKO,the defendant, was found to be in a separate bedroom in

the Premises. In addition, the following items were found:

            a.     Approximately 4,720 gross grams of methamphetamine

(confirmed by field-test) were recovered from the bedroom where AKUNA and

Individual-1 were located. The majority of the methamphetamine was found in
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two packages, one containing approximately 2,234 grams of methamphetamine,

and the other containing approximately 2,238 grams of methamphetamine. Both

packages were recovered from a duffle bag in AKUNA's bedroom. The remaining

248 grams of methamphetamine was recovered from a black colored fanny-bag

found on a nightstand next to AKUNA's bed. Contained within the same black

colored fanny-bag was a men's wallet containing a State of Hawaii identification

forAKUNA.


             b.    A Smith and Wesson .40 caliber, semi-automatic pistol, model

SD40VE, was located in the bedroom occupied by KANEKO.

             c.    A.40 caliber, semi-automatic pistol, was located in the arm rest

console ofthe couch in the living room.

             d.    A Colt SP-1 .223 caliber rifle and a Mossberg 500 12-gauge

shotgun were recovered from the trunk ofthe gray Dodge Challenger parked

fronting the residence.

             e.    Approximately $8,256.00 was recovered from the Premises.

      The Federal Search Warrant


      6.     On December 18, 2018, after the state search warrant had been

executed, law enforcement agents executed a search warrant that was signed and

authorized by the Honorable Richard L. Puglisi, United States Magistrate Judge for

the District of Hawaii for vehicles located at the Premises. During the execution of
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the federal search warrant, law enforcement agents recovered, among other things,

drug paraphemalia from a vehicle that was parked in the driveway fronting the

Premises. Specifically, law enforcement agents recovered glass pipes, some of

which appear to have drug residue.

      7.     From a review ofHPD records, I am aware that both ALEXANDER

K. AKUNA,JR., and CLINT KANEKO,the defendants have prior felony

convictions. Specifically, AKUNA has ten prior felony convictions and KANEKO

five prior felony convictions.

      8.     From my training and experience, and from speaking with other law

enforcement officers with specialized training and experience in investigating

controlled substances offenses, I know that the amount of methamphetamine found

in the Premises is not an amount consistent with personal use, meaning that it is an

amount of methamphetamine that an individual generally would possess for the

purpose of distribution.

      9.     An ATF Interstate Nexus Special Agent determined that the Smith

and Wesson .40 caliber, semi-automatic pistol, model SD40VE,the Colt SP-1 .223

caliber rifle, and the Mossberg 500 12-gauge shotgun were manufactured outside

the State of Hawaii. This means that the firearms were transported across state

lines before they were possessed by ALEXANDER K. AKUNA,JR., and CLINT

KANEKO,the defendants.
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                                 CONCLUSION


      10.   Based on the foregoing facts, I respectfully submit that probable cause

exists to believe that ALEXANDER K. AKUNA,JR., and CLINT KANEKO,the

defendants, committed the aforementioned offenses.

                                         Respectfully submitted,




                                         CLINT
                                         Task Force Officer
                                         Federal Bureau of Investigation


This Criminal Complaint and Affidavit in support thereof were
presented to, approved by, and probable to believe that the defendant
above-named committed the charged crime found to exist by the
undersigned Judicial Officer at /2_ on December 19,2018.

Subscribed and sworn to before me,
this 19th day of DecemberflM^

                                                   w

RICHARD L. PUGLISI
United States Magistrate Judge
District of Hawaii
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